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  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

     MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION


EDWARD BRAGGS, et al.,              )
                                    )
      Plaintiffs,                   )
                                    )      CIVIL ACTION NO.
      v.                            )        2:14cv601-MHT
                                    )             (WO)
JOHN HAMM, in his                   )
official capacity as                )
Commissioner of                     )
the Alabama Department of           )
Corrections, et al.,                )
                                    )
      Defendants.                   )

                                 ORDER

    In the status report on mediation efforts filed on

December 20, 2022 (Doc. 3881), the parties mention the

following:      “ADOC’s      consulting        experts      concerning

recruiting and retention.”

    Accordingly, it is ORDERED that:

    (1) By noon on January 3, 2023, the parties should

file a report indicating who these experts are, what

their duties are, and what, if anything, their role will

be in this litigation.
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    (2) The parties should be prepared to discuss these

experts at the status conference on January 4, 2023, at

8:00 a.m.

    DONE, this the 27th day of December, 2022.

                                    /s/ Myron H. Thompson
                                 UNITED STATES DISTRICT JUDGE




                                   2
